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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,               :
                                        :
      v.                                :        No. 1:21cr-00026-CRC
                                        :
CHRISTOPHER ALBERTS,                    :
    Defendant.                          :

     CONSENT MOTION TO: (1) VACATE TRIAL DATE, (2) SUSPEND
   BRIEFING SCHEDULE AS TO DEFENDANT’S MOTION TO DISMISS
   (3) TO VACATE THE MARCH 30, 2022 STATUS HEARING AND THE
        FILING OF A JOINT STATUS REPORT ON MARCH 25, 2022.

      COMES NOW attorney Allen H. Orenberg, on behalf of defendant Christopher

Alberts, and respectfully moves this Court to (1) Vacate Trial Date, (2) Suspend

Briefing Schedule as to Defendant’s Motion to Dismiss (Doc. 40), and (3) to Vacate the

March 30, 2022, Status Hearing. (10:00 a.m.), and the filing of a Joint Status Report

on March 25, 2022.

      As grounds, the following is stated:

      1.       On February 10, 2022, attorney Kenneth Ferguson entered his

appearance as counsel, pro hace vice, on behalf of defendant Christopher Alberts in the

above-captioned criminal cause. (Doc. 39) However, the Court denied undersigned’s

motion, without prejudice, to withdraw as counsel. (Doc. 42)

      2.       On or about February 19, 2022, Mr. Ferguson was seriously injured in an

accident in Florida. Apparently, he is in the hospital. He may require surgery(s) and

a lengthy convalescence. Counsel has confirmed this through a colleague of Mr.

Ferguson (not his law partner) who is assisting Mr. Ferguson by notifying his current

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clients of his situation. It is uncertain at this time when Mr. Ferguson will be able to

resume practicing law.

      3.       Counsel has discussed Mr. Ferguson’s status with Mr. Alberts. He would

like for Mr. Ferguson to remain, if possible, as his lead counsel. He insists on having

Mr. Ferguson represent him at the trial of this matter, which is scheduled to commence

on July 25, 2002. Consequently, Mr. Alberts is asking the Court to delay his trial and

he agrees to a tolling of time between now and the next court date, pursuant to the

Speedy Trial Act.

      4.       Mr. Alberts also agrees to a suspension of the briefing schedule as to only

Defendant’s Motion to Dismiss (Doc. 40), until such time as Mr. Ferguson may resume

active representation in this case.1

      5.       The Court scheduled a status hearing (VTC) for March 30, 2022, at 10:00

a.m. and, further, instructed the parties to file a joint status report on or before March

25, 2022.

      6.       Undersigned counsel has discussed Mr. Ferguson’s situation with AUSA

Brandon K. Regan and AUSA Jordan A. Koening. The government consents to this

motion.




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       Pending before the Court is a Motion to Modify Conditions of Release. (Doc. 41).
The government has filed a response. (Doc. 44) Thus, Mr. Alberts is asking the Court
to rule on this motion.

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      7.       It is respectfully suggested the parties will file a joint status report on or

before May 23, 2022.

      WHEREFORE, for the foregoing reasons and such other reasons which may

appear just and proper, defendant Christopher Alberts respectfully moves this Court

to (1) Vacate Trial Date, (2) Suspend Briefing Schedule as to Defendant’s Motion to

Dismiss (Doc. 40), and (3) to Vacate the March 30, 2022, Status Hearing and the filing

of a Joint Status Report on March 25, 2022.



                                           Respectfully Submitted,




                                           ____________________________
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Dated: February 23, 2022



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